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 6
 7
                         IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                  EASTERN DISTRICT OF CALIFORNIA
 9
10
11   UNITED STATES OF AMERICA,      ) NO. CR F 01-5137 AWI
                                    )
12                Plaintiff,        )
               v.                   ) ORDER FOR DESTRUCTION OF
13                                  ) FIREARM EVIDENCE
     DAVID MARIN                    )
14                                  )
                                    )
15                                  )
                    Defendant.      )
16   _______________________________)
17
18         Having read and considered the government’s request,
19         IT IS HEREBY ORDERED THAT the Drug Enforcement Administration
20   destroy the following firearm seized during the investigation
21   underlying this matter:
22   DEA Exhibit                Description of Firearm        Serial Number
23   N-3                        COLT .38 PISTOL               686044
24
25
     IT IS SO ORDERED.
26
     Dated:    April 24, 2007                   /s/ Anthony W. Ishii
27   0m8i78                               UNITED STATES DISTRICT JUDGE

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